March 5, 2021

The Hon. Margo K. Brodie
Chief United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                       Re:     United States v. Andre Wilburn, No. 19 Cr. 108 (MKB)

Your Honor:

        This office represents Andre Wilburn. I respectfully request that the pretrial motion
calendar be adjourned by one month. The government does not object. My work on the motion is
delayed due to ongoing disruptions from the COVID-19 pandemic. Specifically, the MDC is not
permitting in-person legal visits or video calls to the unit in which I am told Mr. Wilburn is
currently housed, so I cannot review my draft with the client.

       Should the Court grant this request, the amended pretrial motion calendar would be:

       Defense motion to suppress due April 8, 2021;

       Government response due May 10, 2021;

       Defense reply due May 24, 2021.

       I ask that, as with the previous calendars, this new calendar be set without prejudice to a
motion to adjourn should disruptions continue. The defense does not oppose granting the
government additional time to respond, if needed.

                                                             Respectfully submitted,

                                                             /s James Darrow

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